













Opinion issued September 23, 2004







In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00615-CV
____________

IN RE HARRY BOWLES, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 14, 2004, we struck relator’s petition for writ of mandamus for
noncompliance with the Texas Rules of Appellate Procedure and provided that the
deadline for filing a conforming document was June 21, 2004.  June 21, 2004 has
passed and relator has not filed a conforming document.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, relator’s petition for writ of mandamus is dismissed for want of
prosecution.
&nbsp;
PER CURIAM
Panel consists of Justices Nuchia, Keyes, and Hanks.


